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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Josh Enderle                                          Case No.:
3109 Hawk Lane
Rolling Meadows, IL 60008
                                                      Judge:
         Plaintiff,
                                                          COMPLAINT FOR DAMAGES
v.                                                    UNDER THE FAIR DEBT COLLECTION
                                                         PRACTICES ACT, INVASION OF
KCA Financial Services, Inc                            PRIVACY, AND OTHER EQUITABLE
c/o Virginia A Widrick, Registered Agent                          RELIEF
628 North Street
Geneva, IL 60134
                                                       JURY DEMAND ENDORSED HEREIN
         Defendant.

                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692 and under the doctrine of Supplemental Jurisdiction pursuant

     to 28 U.S.C. §1367(a). Venue is proper because a substantial part of the events giving rise to

     this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

4. At the time of the communications referenced herein, Defendant either owned the debt or

     was retained by the owner to collect the debt.

5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

6. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

7. On or around October 9, 2009, Defendant telephoned Plaintiff’s mother Valerie Enderle

     (“Valerie”) and left a voice message.




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8. During this communication, Defendant falsely represented that Defendant needed to speak to

   Valerie about the collection of a debt.

9. On or around October 9, 2009, Valerie telephoned Defendant in response to the above

   referenced voice message.

10. During this communication, Defendant told Valerie that Defendant had in fact called to reach

   Plaintiff.

11. During this communication, Valerie notified Defendant that Defendant could not reach

   Plaintiff at Valerie’s residence.

12. Despite Valerie’s notice, Defendant telephoned Valerie on or around October 12, 2009.

13. Despite Valerie’s notice, Defendant telephoned Valerie on or around October 13, 2009.

14. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

15. Defendant violated the FDCPA.

                                             COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

16. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

17. Defendant violated 15 U.S.C. §1692c in that it communicated with a third party in

   connection with the collection of a debt without Plaintiff’s consent.

                                           COUNT TWO

                         Violation of the Fair Debt Collection Practices Act

18. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

19. Defendant violated 15 U.S.C. §1692f by using unfair or unconscionable means to attempt to

   collect a debt.




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                                          COUNT THREE

                   Invasion of Privacy by Public Disclosure of a Private Fact

20. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

21. Defendant released information which was private to Plaintiff and concerned Plaintiff’s

    private life to Plaintiff’s mother.

22. Defendant’s disclosure of Plaintiff’s debt to this person is highly offensive.

23. The information disclosed is not of legitimate concern to the public.

                                          JURY DEMAND

24. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

25. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. Judgment, in an amount to be determined at trial, against Defendant for the

                Invasion of Privacy by Public Disclosure of a Private Fact.

            c. For such other legal and/or equitable relief as the Court deems appropriate.



                                                RESPECTFULLY SUBMITTED,

                                                Legal Helpers, P.C.

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